945 F.2d 417
    NOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Telesforo ORO, Petitioner,v.OFFICE OF PERSONNEL MANAGEMENT, Respondent.
    No. 91-3225.
    United States Court of Appeals, Federal Circuit.
    Sept. 18, 1991.
    
      Before NIES, Chief Judge, and RICH and LOURIE, Circuit Judges.
      DECISION
      PER CURIAM.
    
    
      1
      Telesforo Oro (Oro) appeals from the January 16, 1990 Initial Decision of the Administrative Judge (AJ) in Docket No. SE08319010009, which became the final decision of the Merit Systems Protection Board (Board) when it denied review on January 23, 1991.   We dismiss for lack of jurisdiction.
    
    OPINION
    
      2
      Section 7703(b)(1) of Title 5, U.S.C. requires that "any petition for review [by the United States Court of Appeals for the Federal Circuit] must be filed within 30 days after the date the petitioner received notice of the final order or decision of the Board."   The record in this case indicates that Oro received the Board's final order on February 6, 1991.   However, Oro's petition for review was not filed (i.e., received by this court) until March 11, 1991, more than 30 days later.   Thus, the petition is untimely and we lack jurisdiction to consider it.
    
    
      3
      Even assuming jurisdiction existed, we see no error in the AJ's decision on the merits.   Speculation that Oro might have acquired additional service credit, but for the exigencies of World War II, is not a sufficient basis for crediting service under the Civil Service Retirement Act.
    
    